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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                        )
BEAN LLC d/b/a FUSION GPS               )
                                        )
                  Plaintiff,            )
                                        )
                  v.                    )
                                        )              Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                         )
                                        )
                  Defendant,            )
                                        )
                  and                   )
                                        )
PERMANENT SELECT COMMITTEE              )
ON INTELLIGENCE OF THE U.S.             )
HOUSE OF REPRESENTATIVES,               )
                                        )
                  Defendant-Intervenor. )
                                        )

         DECLARATION OF THEODORE J. BOUTROUS, JR. IN SUPPORT
    OF PLAINTIFF’S FURTHER NOTICE OF ADDITIONAL RECORD EVIDENCE

I, THEODORE J. BOUTROUS, JR., hereby declare under penalty of perjury the following:

       1.      My name is Theodore J. Boutrous, Jr. I am a partner with the law firm of Gibson,

Dunn & Crutcher LLP and a member of the bar of this Court. I represent Plaintiff Bean LLC

d/b/a Fusion GPS in the above-captioned action. By virtue of my direct involvement in this

matter, I have personal knowledge of the content of this declaration, and I could and would

competently testify to the truth of the matters stated herein.

       2.      Attached hereto as Exhibit O is a true and correct copy of an article published by

John Bowden of The Hill entitled “Schiff: Nunes ‘doing the work of the White House’” dated

December 21, 2017, available at http://thehill.com/homenews/house/366130-schiff-nunes-doing-

the-work-of-the-white-house-than-the-committee.




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       3.      Attached hereto as Exhibit P is a true and correct copy of an article published by

Kyle Cheney and John Bresnahan of Politico entitled “House Republicans quietly investigate

perceived corruption at DOJ, FBI,” dated December 20, 2017, available at

https://www.politico.com/story/2017/12/20/house-republicans-quietly-investigate-doj-fbi-

310121.

       4.      Attached hereto as Exhibit Q is a true and correct copy of an article published by

Mike Memoli of NBC News entitled “House Republicans prepare to wrap up contentious Russia

investigation,” dated December 18, 2017, available at

https://www.nbcnews.com/politics/congress/house-republicans-prepare-wrap-contentious-russia-

investigation-n830561.

       5.      Attached hereto as Exhibit R is a true and correct copy of an article published by

Kyle Cheney of Politico entitled “House Republicans demand probe of Russia investigation

leaks,” dated December 18, 2017, available at https://www.politico.com/story/2017/12/18/house-

republicans-investigation-leaks-russia-probe-302481.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on this 22nd day of December 2017 in Los Angeles, California.



                                             /s/ Theodore J. Boutrous, Jr.            ,
                                             Theodore J. Boutrous, Jr.




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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of December 2017, the foregoing was filed on the

Court’s CM/ECF system, thereby serving all counsel of record in this matter.




                                                   /s/ Theodore J. Boutrous, Jr.
                                                   Theodore J. Boutrous, Jr.




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